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 JEFFREY S. KERR                                                             2015 HAT -8 P 12:
 (VA Bar Number 42122)
 JefifK@Petaf.org
 PETA Foundation                                                            Clf"
 1536 16"" Street, NW
 Washington, DC 20036
 Telephone:   (202)540-2171
 Facsimile:   (202) 540-2208

 Attorney for Plaintiff
 PEOPLE FOR THE ETHICAL TREATMENT OF ANIMALS, INC.

                             UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA



 People for the Ethical Treatment of               Case No. /, I$ca/(,ov,
 Animals, Inc.,
                                                                            CjnHfmP
        Plaintiff,                                 Complaint for Declaratory and Injunctive
                                                   Relief
                      V.



 United States Fish and Wildlife
 Service and Sally Jewell, in her official
 capacity as Secretary ofthe Interior,

        Defendants.




         I.     Plaintiff, People for the Ethical Treatment ofAnimals, Inc. ("PETA"), brings this
 action against Defendants, United States Fish and WildlifeService("FWS") and Sally Jewel, in
 her official capacityas Secretary ofthe Interior (the "Secretary"), for violation ofthe
 Endangered Species Act ("ESA"), 16 U.S.C. §§ 1531-1544, the FWS regulations, 50 C.F.R. Ch.
 1, and the Administrative Procedure Act ("APA"), 5 U.S.C. §§ 551-559, 701-706. Defendants
 are violatingthese laws by regularly issuing permits authorizing applicantsto engage in activities
 that are prohibitedby the ESA without requiringpermit applicants to demonstrate that the
 activities for which they are seeking the permits will enhance the species' propagation or
 survival,as required by the ESA. Instead,Defendantshave instituted an unlawful Pay-to-Play


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                      Complaint for Declaratory and Injunctive Relief
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